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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :      CASE NO. 1:23-CR00071-RDM
               v.                              :
                                               :
BRYAN SHAWN SMITH,                             :
                                               :
                       Defendant.              :

         GOVERNMENT’S PROPOSED SUBSTITUTED JURY INSTRUCTION

        Based on the government’s notice (ECF No. 58), the government will not pursue – and will
not ask the Court to instruct the jury on – the offense of inflicting bodily injury on officers and
aiding and abetting, in violation of Title 18, United States Code, Sections 111(a)(1) and (b), and
2. Instead, the government will pursue – and will ask the Court to instruct the jury on – the offense
of assaulting, resisting, opposing, intimidating, or interfering with an officer with physical contact
or the intent to commit another felony, and aiding and abetting, in violation of Title 18, United
States Code, Sections 111(a)(1) and 2. Accordingly, the government proposes substituting
Proposed Instruction No. 23, submitted on March 10, 2024 (ECF No. 42), with the following
jury instruction.
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                                   Proposed Instruction No. 23

       18 U.S.C. § 111 – ASSAULTING, RESISTING, OR IMPEDING OFFICERS1

                                    (18 U.S.C. § 111(a)(1) and 2)

       Count Two of the Indictment charges the defendant with assaulting, resisting, or impeding

any person assisting officers of the United States who are engaged in the performance of their

official duties, which is a violation of federal law.

       Count Two also charges the defendant with aiding and abetting others to commit the

offense. First, I will explain the elements of the substantive offense, along with its associated

definitions. Then, I will explain how to determine whether the defendant aided and abetted the

offense.

       Elements

       To find the defendant guilty of this offense, you must find that the government proved each

of the following elements beyond a reasonable doubt:

               First, the defendant assaulted, resisted, opposed, impeded, intimidated, or interfered

       with an officer from the United States Capitol Police or Metropolitan Police Department.

               Second, the defendant did such acts forcibly.

               Third, the defendant did such acts voluntarily and intentionally.

               Fourth, the person assaulted, resisted, opposed, impeded, intimidated, or interfered

       with was assisting officers of the United States who were then engaged in the performance

       of their official duties.




       1 For January 6 trials that have used similar instructions, see United States v. Gietzen, 22-

cr-116 (CJN) (ECF No. 50 at 23 and 26); United States v. Alam, 21-cr-190 (DLF) (ECF No. 104
at 22).
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                Fifth, the defendant made physical contact with a person who was assisting officers

        of the United States who were then engaged in the performance of their official duties or

        acted with the intent to commit another felony. For purposes of this element, “another

        felony” refers to the offense charged in Count One.

        Definitions

        A person acts “forcibly” if he used force, attempted to use force, or threatened to use force

against the officer. Physical force or contact is sufficient but actual physical contact is not required.

You may also find that a person who has the present ability to inflict bodily harm upon another

and who threatens or attempts to inflict bodily harm upon that person acts forcibly. In such case,

the threat must be a present one.2

        The term “assault” means any intentional attempt or threat to inflict injury upon someone

else, when coupled with an apparent present ability to do so. To find that the defendant committed

an “assault,” you must find beyond a reasonable doubt that the defendant intended to inflict or to

threaten injury. Injury means any physical injury, however small, including a touching offensive

to a person of reasonable sensibility.3



        2
           United States v. Taylor, 848 F.3d 476, 493 (1st Cir. 2017) (The element of ‘forcible’
action can be met by a showing of either physical contact with the federal agent, or by such a threat
or display of physical aggression toward the officer as to inspire fear of pain, bodily harm, or
death.”) (quotation marks omitted) (citing cases). For a January 6 case using this definition, see
United States v. McAbee, 21-cr-35 (RC) (ECF No. 376, at 19).
         3
           United States v. Watts, 798 F.3d 650, 654 (7th Cir. 2015) (“an assault may also be
committed by a person who intends to threaten or attempt to make offensive rather than injurious
physical contact with the victim”); United States v. Acosta-Sierra, 690 F.3d 1111, 1117 (9th Cir.
2012) (“Because Section 111 does not define assault, we have adopted the common law definition
of assault as either (1) a willful attempt to inflict injury upon the person of another, or (2) a threat
to inflict injury upon the person of another which, when coupled with an apparent present ability,
causes a reasonable apprehension of immediate bodily harm.”) (quotation marks omitted); Comber
v. United States, 584 A.2d 26, 50 (D.C. 1990) (en banc) (explaining that the crime of simple assault
“is designed to protect not only against physical injury, but against all forms of offensive touching,
. . . and even the mere threat of such touching”); Criminal Jury Instructions for the District of
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        The terms “resist,” “oppose,” “impede,” “intimidate,” and “interfere with” carry their

everyday, ordinary meanings.

        It is not necessary to show that the defendant knew the person being forcibly assaulted,

resisted, opposed, impeded, intimidated, or interfered with was, at that time, assisting federal

officers in carrying out an official duty so long as it is established beyond a reasonable doubt that

the officer was, in fact, assisting a federal officer acting in the course of his duty and that the

defendant intentionally forcibly assaulted, resisted, opposed, impeded, intimidated, or interfered

with that officer.4

        Aiding and Abetting

        In this case, the government further alleges that the defendant committed assaulting,

resisting, or impeding officers, as charged in Count Two, by aiding and abetting others in

committing this offense. The phrase “aiding and abetting” has the same meaning described in the

instructions for Count One.

        In order to find the defendant guilty of assaulting, resisting, or impeding officers because

the defendant aided and abetted others in committing this offense, you must find that the

government proved beyond a reasonable doubt the following elements:

                First, that others committed the offense of assaulting, resisting, or impeding officers

        by committing each of the elements of the offense charged, as I have explained above.




Columbia, No. 4.100 (2022 ed.) (“Injury means any physical injury, however small, including a
touching offensive to a person of reasonable sensibility.”). For other January 6 trials that have
used similar instructions, see United States v. Jensen, 21-cr-6 (TJK) (ECF No. 97 at 30), United
States v. Webster, 21-cr-208 (APM) (ECF No. 101 at 14), United States v. Alam, 21-cr-190 (DLF)
(ECF No. 104 at 23), and United States v. McAbee, 21-cr-35 (RC) (ECF No. 376, at 19-20).
        4
          United States v. Celentano, 22-cr-186 (TJK) (ECF No. 64 at 12); United States v. Thomas,
21-cr-552 (DLF) (ECF No. 150 at 30); United States v. McAbee, 21-cr-35 (RC) (ECF No. 376, at
20-21).
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               Second, that the defendant knew that assaulting officers was going to be committed

       or was being committed by others.

               Third, that the defendant performed an act or acts in furtherance of the offense.

               Fourth, that the defendant knowingly performed that act or acts for the purpose of

       aiding, assisting, soliciting, facilitating, or encouraging others in committing the offense of

       assaulting officers.

               Fifth, that the defendant did that act or acts with the intent that others commit the

       offense of assaulting, resisting, or impeding officers.

       In the instructions for Count One, I have described what the government must prove to

show that the defendant performed an act or acts in furtherance of the offense charged, and the

evidence you may consider in deciding whether the defendant had the requisite knowledge and

intent to satisfy the fourth requirement for aiding and abetting.



                                              Respectfully submitted,
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